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                                        UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                               Case No.: 23−18880−ABA
                                               Chapter: 7
                                               Judge: Andrew B. Altenburg Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Evesham Mortgage, LLC
   fdba 3rd Generation Mortgages
   103 Route 70 East
   Suite 2
   Marlton, NJ 08053
Social Security No.:

Employer's Tax I.D. No.:
  26−1234319

                                            ORDER RESPECTING
                                     AMENDMENT TO SCHEDULE D, E/F, G OR H
                                           OR LIST OF CREDITORS

    The Court having noted that the debtor filed an Amendment to Schedule on (n/a) or to the List of Creditors on
November 3, 2023 , and for good cause shown, it is

          ORDERED that the debtor must provide notice of the Amendment to the creditor(s) or party(ies) being
deleted, added or modified and to the trustee in the case, if any, not later than 7 days after the date of this Order.

          It is further ORDERED that the debtor(s) must serve on added creditors or parties, not later than 7 days
after the date of this Order, the following:

          1.        A copy of the applicable Notice of Chapter 7 Bankruptcy Case, and

          2.        In a Chapter 11 case:

               a)      a copy of the last modified plan and disclosure statement, if any, and

               b)   a copy of any order approving the adequacy of the disclosure statement
               and/or the scheduling of the plan for confirmation.

          3.        In a Chapter 12 or Chapter 13 case:

               a)      a copy of the Notice of Hearing on Confirmation of Plan, if any, and

               b)      a copy of the last modified plan that has been filed in the case.

         It is further ORDERED that not later than 7 days after the date of this Order, the debtor(s) must file the
Local Form, Certification of Service, certifying compliance with the above requirements.

          It is further ORDERED that the added creditors or parties have

          1. until the original deadline, if any, fixed by the court to file a complaint to object to
          the debtor's discharge or dischargeability of certain debts, or sixty 60 days from the date of this Order,
          whichever is later;
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        2. until the original deadline, if any, fixed by the Court to file a proof of claim or required supplement,
        or sixty 60 days from the date of this Order, whichever is later;

        3.    until the original deadline fixed by the Court to object to exemptions, or thirty 30 days from
        the date of this Order, whichever is later.




Dated: November 8, 2023
JAN: def

                                                    Andrew B. Altenburg Jr.
                                                    United States Bankruptcy Judge
